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 5                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7       TELECOMMUNICATION SYSTEMS, INC.,

 8                                     Plaintiff,

             v.                                           Case Nos. 2:19-cv-00336-RAJ-BAT
 9
                                                                    2:19-cv-00644-RAJ-BAT
         LYNNE HOUSERMAN and MOTOROLA
10       SOLUTIONS, INC.,
11                                                        ORDER REGARDING LIMITED
                                                          EXTENSION OF DISCOVERY
                                Defendants.
12                                                        DEADLINE FOR SELECT
     ______________________________________
                                                          DEPOSITIONS
13       LYNNE HOUSERMAN,

14                                     Plaintiff,

             v.
15
         COMTECH TELECOMMUNICATIONS
16       CORPORATION, FRED KORNBERG, and
         MICHAEL D. PORCELAIN,
17
                                       Defendants.
18

19           This matter comes before the Court on the parties’ Stipulation for the limited extension of

20   the discovery deadline for select depositions. Dkt. 91, Case No. 2:19-cv-00336-RAJ-BAT; and

21   Dkt. 102, Case No. 2:19-cv-00644-RAJ-BAT.1 The parties have stipulated as follows:

22

23   1
      The Court consolidated discovery in these actions. See Dkt. 31, 2:19-cv-00336-RAJ-BAT; Dkt.
     30, 2:19-cv-00644-RAJ-BAT.

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 1          1.        On March 18, 2020, the parties filed a Stipulated Motion and Proposed Order

 2   Regarding Depositions and Amending Case Order. Dkt. 54, 2:19-cv-00336-RAJ-BAT; Dkt. 65,

 3   2:19-cv-00644-RAJ-BAT.

 4          2.        On March 24, 2020, the Court entered a minute order, resetting case deadlines.

 5   Pursuant to that minute order, discovery in both cases is to be completed by October 22, 2020.

 6          3.        The parties noticed a number of depositions to take place by remote means in

 7   September and October 2020. Those depositions include the Fed. R. Civ. P. 30(b)(6) depositions

 8   of Telecommunication Systems, Inc. and Comtech Telecommunications Corp. and Motorola

 9   Solutions, Inc. (collectively, the “30(b)(6) Depositions”); depositions of non-party witnesses

10   Ethan Gibbs and Blair Jones formerly affiliated with the law firm Proskauer LLP, as well as a

11   30(b)(6) deposition of Proskauer LLP, and the deposition of Brian David, a witness affiliated

12   with the executive recruiting firm Egon Zehnder, as well as a 30(b)(6) deposition of Egon

13   Zehnder (“Non-party Depositions”); and depositions of the parties’ experts (“Expert

14   Depositions”).

15          4.        The parties have conferred about the scope and/or scheduling of the 30(b)(6)

16   Depositions, Non-party Depositions, and Expert Depositions. The parties have agreed to defer

17   the 30(b)(6) Depositions until as many of the depositions of individuals have occurred as

18   possible. The parties have further agreed to continue to confer about whether the topics for the

19   respective 30(b)(6) Depositions may be further narrowed and/or eliminated as a result of the

20   depositions of individuals that take place prior to the 30(b)(6) Depositions. The parties further

21   stipulate and agree to limit the 30(b)(6) deposition of Motorola Solutions, Inc. to 7 hours on the

22   record, and to limit the 30(b)(6) depositions of Comtech Telecommunications Corp. and

23   Telecommunication Systems, Inc. to a total of 10.5 hours on the record.



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 1          5.      With respect to Non-party Depositions, the parties have agreed to conduct these

 2   depositions before November 13, 2020 due to the unavailability of the non-party witnesses

 3   before the October 22, 2020 discovery deadline.

 4          6.      With respect to Expert Depositions, the parties have agreed to conduct these

 5   depositions, if at all, promptly after fact depositions and, with the exception of one expert noted

 6   below, before November 13, 2020.

 7          7.      On September 11, 2020, the Court denied Motorola Solutions, Inc. (“MSI”) and

 8   Lynne Houserman’s motion for a protective order regarding the deposition of MSI Chief

 9   Executive Officer Greg Brown. Dkt. 82, 2:19-cv-00336-RAJ-BAT. Following that order, the

10   parties have conferred about the scheduling of Mr. Brown’s deposition. Both sides and the

11   witness would be available for the deposition on October 26, 2020, which is shortly after the

12   current October 22, 2020 discovery deadline.

13          8.      On October 19, 2020, parties Comtech Telecommunications Corp.,

14   Telecommunication Systems, Inc., Fred Kornberg and Michael D. Porcelain took the deposition

15   of former MSI employee Manuel Cuevas. Due to a family emergency, the deposition adjourned

16   45 minutes early. MSI and Mr. Cuevas have therefore agreed to provide the parties taking the

17   deposition the opportunity to conclude the deposition, and the parties have agreed that such

18   deposition will conclude on or before November 13, 2020.

19          9.      As a result of the deposition schedule in September and October 2020, the parties’

20   discussions regarding scheduling Mr. Brown’s deposition, the parties’ discussions and agreement

21   to conduct Non-party Depositions and Expert Depositions (with one exception due to witness

22   availability) before November 13, 2020, the parties’ agreement to continue to confer in an effort

23   to narrow and streamline the 30(b)(6) Depositions, and the family emergency necessitating the



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 1   deposition of Mr. Cuevas to adjourn early, the parties stipulate and agree that there is good cause

 2   to extend the October 22, 2020 discovery cutoff for the sole purposes of: conducting Mr.

 3   Brown’s deposition, the 30(b)(6) Depositions, the Non-party Depositions and Expert

 4   Depositions, and concluding the deposition of Mr. Cuevas.

 5          Accordingly, it is ORDERED that the current deadlines are extended as follows:

 6                Event                  Current Deadline                Extension
       All discovery to be           10/22/20                       10/22/20 (no change)
 7     Completed, with the
       Exception of select Non-
 8     Party Depositions noted
       below, Expert Depositions,
 9     30(b)(6) Depositions, and
       Greg Brown’s Deposition
10     Greg Brown Deposition         10/22/20                       To Be Conducted on 10/26/20
       Non-Party Egon Zehnder        10/22/20                       To Be Conducted on 10/29/20
11     and Brian David
       Depositions
12     Non-Party Proskauer LLP;      10/22/20                       To Be Conducted on or before
       Blair Jones and Ethan Gibbs                                  11/13/20
       Depositions; 30(b)(6)
13     Depositions; Expert
       Depositions of Elaine
14     Lehnert, Mark Gustafson,
       and Todd Milbourn
15     Conclusion of Manuel          10/22/20                       To Be Concluded on or before
       Cuevas Deposition                                            11/13/20
16     Expert Deposition of Gary     10/22/20                       To Be Conducted on 11/17/20
       Goolsby
17

18          No other case deadline or trial date is affected by this Order.

19
            DATED this 21st day of October, 2020.
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21
                                                            A
                                                            BRIAN A. TSUCHIDA
                                                            Chief United States Magistrate Judge
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